24-11544-cgb
       Case 23-03141
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  The relief described hereinbelow is SO ORDERED.



  Signed December 06, 2024.

                                                             __________________________________
                                                                  CHRISTOPHER G. BRADLEY
                                                             UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                    §
   In re:
                                                    §       CASE NO. 24-11544-cgb
   JETALL COMPANIES, INC.                           §
                                                    §       CHAPTER 11
                    Alleged Debtor.
                                                    §

       ORDER TRANSFERRING CASE TO THE SOUTHERN DISTRICT OF TEXAS

            On December 4, 2024, an Involuntary Petition Against a Non-Individual was filed against

  Jetall Companies, Inc. The Court has determined that this case should be transferred to the

  Southern District of Texas in the interest of justice. Accordingly,

            IT IS HEREBY ORDERED and NOTICE is given that the above-captioned case is

  transferred from this Court to the Honorable Jeffrey P. Norman in the United States Bankruptcy

  Court for the Southern District of Texas.

            IT IS FURTHER ORDERED that the Clerk of the Court shall immediately cause a copy

  of this order to be served on all parties in interest in this case.

                                                    ###

                                                                                 EXHIBIT
                                                        1
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